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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    JANE DOE,                                           Case No.: 20cv1818-MMA (MSB)
12                                       Plaintiff,
                                                          SCHEDULING ORDER
13    v.                                                  REGULATING DISCOVERY
                                                          AND OTHER PRE-TRIAL
14    CISSY STEELE. et al.,
                                                          PROCEEDINGS
15                                    Defendant.
16
17          Pursuant to Rule 16.1(d) of the Local Rules, a Case Management Conference was
18    held on July 8, 2021. After consulting with the attorneys of record for the parties and
19    being advised of the status of the case, and good cause appearing, IT IS HEREBY
20    ORDERED:
21          1.     Any motion to join other parties, to amend the pleadings, or to file additional
22    pleadings must be filed by August 20, 2021.
23          2.     The parties shall file a joint motion for a protective order, which includes the
24    terms of their agreement for handling confidential documents and information, on or
25    before August 20, 2021.
26          3.     A telephonic attorneys-only Case Management Conference is set for
27    October 8, 2021, at 11:30 a.m. Plaintiff’s counsel is to arrange and initiate the
28    conference call. The telephone number for Judge Berg’s chambers is (619) 557-6632.

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 1          4.     All fact discovery must be completed by all parties by January 7, 2022.
 2    “Completed” means that all discovery under Rules 30-36 of the Federal Rules of Civil
 3    Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient period
 4    of time in advance of the cut-off date, so that it may be completed by the cut-off date,
 5    taking into account the times for service, notice and response as set forth in the Federal
 6    Rules of Civil Procedure. All interrogatories, requests for admission, and document
 7    production requests must be served by November 5, 2021.
 8          Counsel shall promptly and in good faith meet and confer with regard to all
 9    discovery disputes in compliance with Local Rule 26.1(a). All discovery disputes must
10    be raised with the Court within 30 days of the event giving rise to the dispute. For oral
11    discovery, the event giving rise to the dispute is the completion of the transcript of the
12    relevant portion of the deposition. For written discovery, the event giving rise to the
13    discovery dispute is the date of service of the response, not the date on which counsel
14    reach an impasse in meet and confer efforts. If a party fails to provide a discovery
15    response, the event giving rise to the discovery dispute is the date response was due.
16          The Court’s procedures for resolving discovery disputes are set forth in Magistrate
17    Judge Michael S. Berg’s Civil Chambers Rules, which are posted on the Court’s website.
18    A failure to comply in this regard will result in a waiver of a party’s discovery issue.
19    Absent an order of the court, no stipulation continuing or altering this requirement
20    will be recognized by the court.
21          5.     The parties must designate their respective experts in writing by February
22    7, 2022. The parties must identify any person who may be used at trial to present
23    evidence pursuant to Rules 702, 703 or 705 of the Fed. R. Evid. This requirement is not
24    limited to retained experts. The date for exchange of rebuttal experts must be by
25    February 21, 2022. The written designations must include the name, address and
26    telephone number of the expert and a reasonable summary of the testimony the expert is
27    expected to provide. The list must also include the normal rates the expert charges for
28    deposition and trial testimony.

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 1           6.      By March 21, 2022, each party must comply with the disclosure provisions
 2    in Rule 26(a)(2)(B) and (C) of the Federal Rules of Civil Procedure. This disclosure
 3    requirement applies to all persons retained or specially employed to provide expert
 4    testimony, or whose duties as an employee of the party regularly involve the giving of
 5    expert testimony. Except as provided in the paragraph below, any party that fails to
 6    make these disclosures will not, absent substantial justification, be permitted to use
 7    evidence or testimony not disclosed at any hearing or at the time of trial. In
 8    addition, the Court may impose sanctions as permitted by Fed. R. Civ. P. 37(c).
 9           7.      Any party must supplement its disclosure regarding contradictory or rebuttal
10    evidence under Fed. R. Civ. P. 26(a)(2)(D) by April 4, 2022.
11           8.      All expert discovery must be completed by all parties by May 4, 2022. The
12    parties must comply with the same procedures set forth in the paragraph governing fact
13    discovery.
14           9.      Failure to comply with this section or any other discovery order of the court
15    may result in the sanctions provided for in Fed. R. Civ. P. 37, including a prohibition on
16    the introduction of experts or other designated matters in evidence.
17           10.     All dispositive pretrial motions, including motions for summary judgment
18    and motions addressing Daubert issues, must be filed by June 3, 2022.1 Counsel for the
19    moving party must obtain a motion hearing date from Judge Anello’s law clerk. The
20    period of time between the date you request a motion date and the hearing date may vary
21    from one district judge to another. Please plan accordingly. Failure to make a timely
22    request for a motion date may result in the motion not being heard.
23           11.     If appropriate, following the filing of an order ruling on a motion for
24    summary judgment or other dispositive pretrial motion, or in the event no such motion is
25    filed, after the expiration of the deadline set forth in paragraph 8, supra, Judge Anello will
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        This deadline is not applicable to pretrial motions in limine. For further information regarding motions
28    in limine, please refer to Judge Anello’s Civil Chambers Rules.

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 1    issue a pretrial scheduling order setting a pretrial conference, trial date, and all related
 2    pretrial deadlines. The parties must review and be familiar with Judge Anello’s Civil
 3    Chambers Rules, which provide additional information regarding pretrial scheduling.
 4           12.     A Mandatory Settlement Conference will be conducted on May 6, 2022 at
 5    9:30 a.m., in the chambers of Magistrate Judge Michael S. Berg located at 221 West
 6    Broadway, second floor, San Diego, CA 92101. All discussions at the Mandatory
 7    Settlement Conference will be informal, off the record, privileged, and confidential.
 8    Counsel for any non-English speaking party is responsible for arranging for the
 9    appearance of an interpreter at the conference.
10                   a.     Personal Appearance of Parties Required: All named parties, party
11    representatives, including claims adjusters for insured defendants, as well as the principal
12    attorney(s) responsible for the litigation, must be present in person and legally and
13    factually prepared to discuss and resolve the case. Counsel appearing without their
14    clients (whether or not counsel has been given settlement authority) will be cause for
15    immediate imposition of sanctions and may also result in the immediate termination of
16    the conference.
17                   b.     Full Settlement Authority Required: A party or party
18    representative with full settlement authority2 must be present at the conference. Retained
19    outside corporate counsel shall not appear on behalf of a corporation as the party
20    representative who has the authority to negotiate and enter into a settlement. A
21    government entity may be excused from this requirement so long as the government
22    attorney who attends the Mandatory Settlement Conference has (1) primary responsibility
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        “Full settlement authority” means that the individuals at the settlement conference must be authorized
25    to fully explore settlement options and to agree at that time to any settlement terms acceptable to the
      parties. Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989). The person
26    needs to have “unfettered discretion and authority” to change the settlement position of a party. Pitman
      v. Brinker Int’l, Inc., 216 F.R.D. 481, 485–86 (D. Ariz. 2003). The purpose of requiring a person with
27    unlimited settlement authority to attend the conference contemplates that the person’s view of the case
      may be altered during the face to face conference. Id. at 486. A limited or a sum certain of authority is
28    not adequate. See Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595–97 (8th Cir. 2001).

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 1    for handling the case, and (2) authority to negotiate and recommend settlement offers to
 2    the government official(s) having ultimate settlement authority.
 3                 c.     Confidential Settlement Statements Required: On or before
 4    April 29, 2022, the parties shall submit directly to Magistrate Judge Berg’s chambers
 5    (via hand delivery or by e-mail to the Court at efile_berg@casd.uscourts.gov),
 6    confidential settlement statements. The statements are limited to ten (10) pages, plus an
 7    additional ten (10) pages of exhibits. Each party’s settlement statement must outline (1)
 8    the nature of the case and the claims, (2) position on liability or defenses; (3) position
 9    regarding settlement of the case with a specific demand/offer for settlement, and (4)
10    any previous settlement negotiations or mediation efforts. The Mandatory Settlement
11    Conference statement must not merely repeat what was contained in the Early Neutral
12    Evaluation conference brief or any earlier settlement brief. The settlement statement
13    must specifically identify what the discovery process revealed and the effect that the
14    evidence has on the issues in the case. To the extent specific discovery responses,
15    portions of deposition testimony, or expert reports are pertinent to the Court’s evaluation
16    of the matter, these documents must be attached as exhibits. Evidence supporting or
17    refuting either party’s claim for damages must also be identified and included as an
18    exhibit.
19          If a specific demand or offer cannot be made at the time the settlement statement is
20    submitted, then the reasons as to why a demand or offer cannot be made must be stated.
21    Further, the party must explain when they will be in a position to state a demand or offer.
22    General statements such as a party will “negotiate in good faith” is not a specific demand
23    or offer. The settlement statement should be submitted confidentially and need not be
24    shared with other parties.
25                 d.     Requests to Continue a Mandatory Settlement Conference:
26    Any request to continue the Mandatory Settlement Conference, or request for relief from
27    any of the provisions or requirements of this Order, must be sought by a written
28    application. Absent good cause, requests for continuances will not be considered

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 1    unless submitted in writing no fewer than seven (7) calendar days prior to the
 2    scheduled conference.
 3          If the case is settled in its entirety before the scheduled date of the conference,
 4    counsel and any unrepresented parties must still appear in person, unless a written
 5    joint notice confirming the complete settlement of the case is filed no fewer than
 6    twenty-four (24) hours before the scheduled conference.
 7          13.    A post trial settlement conference before a magistrate judge may be held
 8    within 30 days of verdict in the case.
 9          14.    The dates and times set forth herein will not be modified except for good
10    cause shown.
11          15.    Briefs or memoranda in support of or in opposition to any pending motion
12    must not exceed twenty-five (25) pages in length without leave of a district court judge.
13    No reply memorandum will exceed ten (10) pages without leave of a district court judge.
14    Briefs and memoranda exceeding ten (10) pages in length must have a table of contents
15    and a table of authorities cited.
16          16.    Plaintiff’s counsel must serve a copy of this order on all parties that enter
17    this case hereafter.
18          IT IS SO ORDERED.
19    Dated: July 8, 2021
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